Case 9:18-ap-01058-DS             Doc 171 Filed 08/02/19 Entered 08/02/19 13:44:03        Desc
                                   Main Document    Page 1 of 25


  1   BLANK ROME LLP
      Cheryl S. Chang (SBN 237098)
  2   chang@blankrome.com
      Craig N. Haring (SBN 314100)
  3   charing@blankrome.com
      2029 Century Park East | 6th Floor
  4   Los Angeles, CA 90067
      Telephone:    424.239.3400
  5   Facsimile:    424.239.3434

  6   Jeffrey Rhodes (Admitted Pro Hac Vice)
      jrhodes@blankrome.com
  7   1825 Eye Street NW
      Washington, DC 20006
  8   Telephone:    202.420.2200
      Facsimile:    202.420.2201
  9
      Attorneys for
 10   GLADSTONE INVESTMENT CORPORATION

 11                                 UNITED STATES BANKRUPTCY COURT

 12                   CENTRAL DISTRICT OF CALIFORNIA, NORTHERN DIVISION

 13   In re:                                               Case No. 9:16-bk-11912-DS
 14   CHANNEL TECHNOLOGIES GROUP, LLC,                     Chapter: 11
 15                                    Debtor.
 16
      CORPORATE RECOVERY ASSOCIATES,                       Adv. Case No. 9:18-ap-01058-DS
 17   LLC, as Trustee for the Liquidating Trust of
      Channel Technologies Group, LLC,                     NOTICE OF MOTION AND MOTION
 18                                                        TO DISMISS THE SECOND AMENDED
                                       Plaintiff,          COMPLAINT
 19
                vs.
 20                                                        Date:    September 10, 2019
      BLUE WOLF CAPITAL PARTNERS, LLC,                     Time:    1:00 p.m.
 21   BLUE WOLF CAPITAL FUND II, L.P.,                     Place:   Courtroom 1639
      GLADSTONE INVESTMENT                                          United States Bankruptcy Court
 22   CORPORATION, BLUE WOLF CAPITAL                                255 E. Temple Street
      ADVISORS, L.P., BW PIEZO HOLDINGS,                            Los Angeles, CA 90012
 23   LLC, FIDUS INVESTMENT CORPORATION,
      FIDUS MEZZANINE CAPITAL, II, L.P.,
 24   AVANTE MEZZANINE PARTNERS SBIC,
      LP, AVANTE MEZZANINE PARTNERS II,
 25   INC., PENGDI HAN, DHAN, LLC, GRANT
      THORNTON, LLP, CTG ADVANCED
 26   MATERIALS, LLC, CTS CORPORATION,
      AND ELECTRO OPTICAL INDUSTRIES,
 27
                                       Defendants.
 28

      200729.00057/121585843v.1                        1
               NOTICE OF MOTION AND MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
Case 9:18-ap-01058-DS             Doc 171 Filed 08/02/19 Entered 08/02/19 13:44:03           Desc
                                   Main Document    Page 2 of 25


  1           TO THE HONORABLE DEBORAH J. SALTZMAN, UNITED STATES

  2   BANKRUPTCY JUDGE AND TO PLAINTIFF AND ITS COUNSEL OF RECORD:

  3           PLEASE TAKE NOTICE that on September 10, 2019 at 1:00 p.m., or as soon thereafter

  4   as the matter may be heard, a hearing will be conducted before the Honorable Deborah J.

  5   Saltzman, United States Bankruptcy Judge, in Courtroom 1639 of the United States Bankruptcy

  6   Court located at 255 E. Temple Street, Los Angeles, California 90012, to consider the Motion of

  7   defendant Gladstone Investment Corporation (“Defendant”) to dismiss the Second Amended

  8   Complaint (Docket No. 156) (“Complaint”) filed by plaintiff Corporate Recovery Associates,

  9   LLC, as Trustee for the Liquidating Trust of Channel Technologies Group, LLC (“Trustee”),

 10   pursuant to Rule 7012 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”)

 11   and Rule 12(b)(6) of the Federal Rules of Civil Procedure. As further set forth in the Motion, the

 12   Complaint fails to adequately plead facts sufficient to state a plausible claim against Defendant.

 13           Appearance at the hearing must be made in Judge Saltzman’s courtroom in Los Angeles.

 14   Appearance may be made in Santa Barbara only with permission from Chambers.

 15           The Motion is based on this Notice, Memorandum, Request for Judicial Notice, all

 16   pleadings in this adversary proceeding and the underlying bankruptcy case, and such other and

 17   further evidence and argument as may be presented at the time of any hearing on this matter.

 18           PLEASE TAKE FURTHER NOTICE that pursuant to Stern v. Marshall, 131 S.Ct. 2594

 19   (2011), and Executive Benefits Ins. Agency v. Arkison (In re Bellingham Ins. Agency, Inc.), 702

 20   F.3d 553 (9th Cir. 2012), Defendant does not consent to entry of final orders or judgment by the

 21   bankruptcy judge in this adversary proceeding, and hereby reserves the right to move for

 22   withdrawal of the reference of this proceeding.

 23           PLEASE TAKE FURTHER NOTICE that Local Bankruptcy Rule 9013-1(c)(2) requires

 24   that any response to the Motion be filed with the Bankruptcy Court and served upon counsel for

 25   Defendant at the addresses appearing in the upper-left hand corner of the caption page to this

 26   Notice at least fourteen (14) days before the hearing. Pursuant to Local Bankruptcy Rule 9013-

 27   1(h), the failure to timely file and serve a written opposition may be deemed by the Court to be

 28   consent to the granting of the relief requested in the Motion.

      200729.00057/121585843v.1                          2
            NOTICE OF MOTION AND MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
Case 9:18-ap-01058-DS             Doc 171 Filed 08/02/19 Entered 08/02/19 13:44:03   Desc
                                   Main Document    Page 3 of 25


  1
      DATED: August 2, 2019                     BLANK ROME LLP
  2

  3

  4                                             By: /s/ Craig N. Haring
                                                        Cheryl S. Chang
  5                                                     Jeffrey Rhodes
                                                        Craig N. Haring
  6
                                                Attorneys for
  7                                             GLADSTONE INVESTMENT CORPORATION
  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28

      200729.00057/121585843v.1                         3
            NOTICE OF MOTION AND MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
Case 9:18-ap-01058-DS                  Doc 171 Filed 08/02/19 Entered 08/02/19 13:44:03                                                Desc
                                        Main Document    Page 4 of 25


  1                                                        TABLE OF CONTENTS

  2                                                                                                                                                Page

  3   INTRODUCTION ............................................................................................................................1

  4   BACKGROUND – CLAIMS ASSERTED AGAINST GLADSTONE...........................................2

  5              I.         Counts A Through D of the Second Amended Complaint – “Alter Ego”
                            Claims .......................................................................................................................2
  6
                 II.        Counts E Through H of the Second Amended Complaint – “Non-Alter
  7                         Ego” Claims ..............................................................................................................3

  8              III.       The Second Amended Complaint Fails to Allege Key Facts Regarding
                            Secured Financing Provided by Gladstone ...............................................................4
  9
      ARGUMENT ....................................................................................................................................8
 10
                 I.         Legal Standard ..........................................................................................................8
 11
                 II.        Counts A through D of the Second Amended Complaint Fail to State
 12                         Plausible Claims for the Avoidance and Recovery of Fraudulent Transfer
                            Claims Against Gladstone .........................................................................................9
 13
                            a.         The Proceeds of the Sale of CTGAM Do Not Involve Property of
 14                                    CTG ...............................................................................................................9

 15                         b.         The New Claims Asserted Against Gladstone in Counts A Through
                                       D of the Second Amended Complaint Are Time Barred and
 16                                    Unsupported by Fact or Law .......................................................................11

 17              III.       Counts E through H of the Second Amended Complaint Fail to State
                            Plausible Claims for the Avoidance and Recovery of Fraudulent Transfer
 18                         Claims Against Gladstone .......................................................................................13

 19   JOINDER ........................................................................................................................................15

 20   CONCLUSION ...............................................................................................................................15

 21

 22

 23

 24

 25

 26

 27

 28

      200729.00057/121585843v.1                                                  i
              NOTICE OF MOTION AND MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
Case 9:18-ap-01058-DS                 Doc 171 Filed 08/02/19 Entered 08/02/19 13:44:03                                         Desc
                                       Main Document    Page 5 of 25


  1                                                   TABLE OF AUTHORITIES

  2                                                                                                                                   Page(s)
  3   Cases
  4   Arnold v. First Citizens Nat’l Bank (In re Cornerstone Home, Inc.),
  5      567 B.R. 37 (Bankr. W.D.N.Y. 2017) ........................................................................................9

  6   Ashcroft v. Iqbal,
         556 U.S. 662 (2009) ................................................................................................................8, 9
  7
      Bell Atl. Corp. v. Twombly,
  8       550 U.S. 544 (2007) ................................................................................................................8, 9
  9   Branch v. Tunnell,
         14 F.3d 449, 454 (9th Cir. 1994).................................................................................................6
 10

 11   Buchwald Capital Advisors, LLC v. JP Morgan Chase Bank, N.A. (In re M.
         Fabrikant & Sons, Inc.),
 12      447 B.R. 170 (Bankr. S.D.N.Y. 2011), aff’d, 480 B.R. 480 (S.D.N.Y. 2012)....................12, 14

 13   Burtch v. Opus, LLC (In re Opus E., LLC),
         Adv. No. 11-52423 (MFW), 2013 WL 4478914 (Bankr. D. Del. Aug. 6, 2013) ...............12, 14
 14
      Communist Party v. 522 Valencia, Inc.,
 15
        35 Cal.App.4th 980 (1995) .......................................................................................................10
 16
      Cooper v. Pickett,
 17      137 F.3d 616 (9th Cir. 1997).......................................................................................................8

 18   Danning v. Miller (In re Bullion Reserve of North America),
         922 F.2d 544 (9th Cir. 1991).....................................................................................................12
 19
      Disenos Artisticos E Industriales, S.A., v. Costco Wholesale Corp.,
 20      97 F.3d 377 (9th Cir. 1996).......................................................................................................10
 21
      Doe v. Columbia Univ.,
 22      831 F.3d 46 (2d Cir. 2016) ..........................................................................................................9

 23   Galbraith v. County of Santa Clara,
         307 F.3d 1119 (9th Cir. 2002).....................................................................................................6
 24
      Gaughan v. Edward Dittlof Revocable Trust (In re Costas),
 25      555 F.3d 790 (9th Cir. 2009).......................................................................................................9
 26   Greenspan v. Orrick, Herrington & Sutcliffe LLP (In re Brobeck, Phelger &
 27      Harrison LLP),
         408 B.R. 318 (Bankr. N.D. Cal. 2009)........................................................................................9
 28

      200729.00057/121585843v.1                                              ii
             NOTICE OF MOTION AND MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
Case 9:18-ap-01058-DS                 Doc 171 Filed 08/02/19 Entered 08/02/19 13:44:03                                          Desc
                                       Main Document    Page 6 of 25


  1   In re First Alliance Mortg. Co.,
          471 F.3d 977 (9th Cir. 2006).....................................................................................................14
  2
      In re Inter. Mgmt Assoc.,
  3       399 F.3d 1288 (11th Cir. 2005).................................................................................................12
  4
      In re Metzeler,
  5       66 B.R. 977 (Bankr. S.D.N.Y. 1986) ..................................................................................12, 14

  6   In re Nat. Century Financial Enterprises, Inc.,
          783 F. Supp. 2d 1003 (S.D. Ohio 2011) ...................................................................................14
  7
      In re Walters,
  8       163 B.R. 575 (Bankr. C.D. Cal. 1994) ......................................................................................14
  9   Johnson v. Riverside Healthcare Sys., L.P.,
 10      534 F.3d 1116 (9th Cir. 2008)...................................................................................................11

 11   Melamed v. Lake Cnty. Nat. Bank,
         727 F.2d 1399 (6th Cir. 1984)...................................................................................................14
 12
      Mesler v. Bragg Mgmt. Co.,
 13      39 Cal.3d 290 (1985) ................................................................................................................10
 14   Neilson v. Union Bank of Cal., N.A.,
 15      290 F. Supp. 2d 1101 (C.D. Cal. 2003) ......................................................................................8

 16   Official Comm. of Unsecured Creditors v. Fountainhead Grp., Inc. (In re
          Bridgeview Aerosol, LLC),
 17       538 B.R. 477 (Bankr. N.D. Ill. 2015)........................................................................................12

 18   Outdoor Cent., Inc. v. GreatLodge.com, Inc.,
         643 F.3d 1115 (8th Cir. 2011).....................................................................................................6
 19
      Screen Capital Int’l Corp. v. Library Asset Acquisition Co., Ltd. (In re ThinkFilm,
 20
         LLC),
 21      510 B.R. 266 (C.D. Cal. 2014)....................................................................................................2

 22   Tellabs, Inc. v. Makor Issues & Rights, Ltd.,
          551 U.S. 308 (2007) ....................................................................................................................6
 23
      U.S. Fid. & Guar. Co. v. Lee Investments, LLC,
 24      No. CV-F-99-5583, 2008 WL 5157712 (E.D. Cal. Dec. 8, 2008) ............................................10
 25   United Continental Tuna Corp. v. U.S.,
 26      550 F.2d 569 (9th Cir. 1977).....................................................................................................10

 27   United States v. Corinthian Colleges,
         655 F.3d 984 (9th Cir. 2011).......................................................................................................6
 28

      200729.00057/121585843v.1                                              iii
              NOTICE OF MOTION AND MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
Case 9:18-ap-01058-DS                  Doc 171 Filed 08/02/19 Entered 08/02/19 13:44:03                                             Desc
                                        Main Document    Page 7 of 25


  1   Vess v. Ciba-Geigy Corp. USA,
         317 F.3d 1097 (9th Cir. 2003).....................................................................................................8
  2
      Statutes
  3
      11 U.S.C. § 544(b)(1)........................................................................................................................9
  4

  5   11 U.S.C. § 546(a)(1)(a) ...........................................................................................................12, 14

  6   11 U.S.C. § 548(a) ............................................................................................................................2

  7   11 U.S.C. § 548(a)(1)(A) ............................................................................................................9, 14

  8   11 U.S.C. § 548(a)(1)(B) ............................................................................................................9, 14
  9   11 U.S.C. § 548(d)(2)(A) ................................................................................................................15
 10   11 U.S.C. § 550(a) ............................................................................................................................2
 11   11 U.S.C. § 550(a)(1) ................................................................................................................12, 13
 12
      Other Authorities
 13
      Fed. R. Bankr. P. 7008(a)..................................................................................................................8
 14
      Fed. R. Bankr. P. 7009 ......................................................................................................................8
 15
      Fed. R. Bankr. P. 7012(b) .................................................................................................................8
 16
      Fed. R. Civ. P. 8(a)(2) .......................................................................................................................8
 17
      Fed. R. Civ. P. 9(b) ...........................................................................................................................8
 18

 19   Fed. R. Civ. P. 12(b)(6) .......................................................................................................1, 6, 8, 11

 20

 21

 22

 23

 24

 25

 26

 27

 28

      200729.00057/121585843v.1                                                iv
              NOTICE OF MOTION AND MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
Case 9:18-ap-01058-DS             Doc 171 Filed 08/02/19 Entered 08/02/19 13:44:03              Desc
                                   Main Document    Page 8 of 25


  1                                            INTRODUCTION

  2           This action concerns claims asserted by the Liquidating Trustee (“Trustee” or “Plaintiff”)

  3   of debtor Channel Technologies Group, LLC (“CTG”) for the avoidance and recovery of alleged

  4   fraudulent transfers, and other claims against various defendants, including Gladstone Investment

  5   Corporation (“Gladstone”). The Trustee’s claims are based primarily on the October 2013

  6   acquisition and March 2016 sale of a non-debtor sister company, CTG Advanced Materials, LLC

  7   (“CTGAM”), and the subsequent distributions of the sale proceeds of CTGAM. The equity

  8   interests in both CTG and CTGAM were held by BW Piezo Holdings, LLC (“BW Piezo”).

  9   Because the March 2016 sale of CTGAM did not involve a transfer of the debtor CTG’s property

 10   – a necessary element to the Trustee’s fraudulent transfer claims arising from the sale of CTGAM

 11   - the Trustee further alleges certain “alter ego” claims and concludes, without the necessary legal

 12   or factual support, that CTGAM’s property should be deemed the property of CTG. The Trustee

 13   asserted these “alter ego” fraudulent transfer claims as well as others in both an original

 14   complaint and in a First Amended Complaint that barely mentioned Gladstone at all, and that

 15   sought to avoid and recover from Gladstone certain transfers specified in Exhibits A and B

 16   thereto in a total amount of $3,483,913.24. Gladstone filed an answer and defenses to the First

 17   Amended Complaint, and other defendants also answered or filed motions to dismiss.

 18           On May 31, 2019, the Court entered a memorandum decision and order dismissing the

 19   Trustee’s First Amended Complaint in its entirety. See Order Granting Defendants’ Motions to

 20   Dismiss Plaintiff’s First Amended Complaint Pursuant to Fed. R. Civ. P. 12(b)(6) [Docket No.

 21   147] and corresponding Memorandum Decision Re Defendants’ Motions to Dismiss Plaintiff’s

 22   First Amended Complaint Pursuant to Fed. R. Civ. P. 12(b)(6) [Docket No. 146] (“Memorandum

 23   Decision”). The Court determined, among other things, that the Trustee failed to allege facts

 24   sufficient to state plausible claims for relief on the Trustee’s alter ego theory as well as the

 25   fraudulent transfer and other causes of action asserted in the complaint. Nonetheless, the Court

 26   granted the Trustee leave to file a further amended complaint and an opportunity for the Trustee

 27   to cure the “major deficiencies” in the First Amended Complaint. See Memorandum Decision at

 28   32.

      200729.00057/121585843v.1                            1
            NOTICE OF MOTION AND MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
Case 9:18-ap-01058-DS             Doc 171 Filed 08/02/19 Entered 08/02/19 13:44:03                          Desc
                                   Main Document    Page 9 of 25


  1            The Trustee has now filed a Second Amended Complaint, but the major deficiencies noted

  2   by the Court remain. Like its predecessors, the Second Amended Complaint fails to assert

  3   plausible claims for relief against Gladstone. The Second Amended Complaint also includes

  4   entirely new claims against Gladstone, including claims in which the Trustee now seeks to

  5   recover from Gladstone more than $34,000,000 in transfers made to other parties, based solely on

  6   the allegation that Gladstone owned equity in BW Piezo and/or CTGAM. As further explained

  7   below, these claims are unsupported by facts that state any plausible claims against Gladstone and

  8   are barred under applicable statutes of limitation. As it is evident that the Trustee is unable to

  9   state plausible claims for relief, the Second Amended Complaint should be dismissed with

 10   prejudice.

 11                  BACKGROUND – CLAIMS ASSERTED AGAINST GLADSTONE

 12            The allegations in the Second Amended Complaint as to Gladstone are sparse, and the

 13   references to Gladstone in the Second Amended Complaint1 are limited to the following:

 14   (1) Gladstone is named in Section II, which identifies the parties to the action, and is identified as

 15   a Delaware corporation, see Second Amended Complaint, ¶ 6; (2) Gladstone is identified as a

 16   party receiving the benefit of certain transfers made to other entities based solely on the allegation

 17   that Gladstone owned equity in BW Piezo and CTGAM, see, e.g., Second Amended Complaint,

 18   ¶¶ 79, 143; and (3) Gladstone is identified as the recipient of certain other specific transfers that

 19   are unrelated to the Trustee’s alter ego claims, see, e.g., Second Amended Complaint, ¶¶ 76 and

 20   Exhibit B. No other facts are alleged as to Gladstone.

 21   I.       Counts A Through D of the Second Amended Complaint – “Alter Ego” Claims

 22            The Second Amended Complaint asserts two categories of fraudulent transfer causes of

 23   action against Gladstone and other defendants, under sections 548(a) and 550(a) of the

 24   Bankruptcy Code and under California fraudulent transfer law, based on alternative theories.

 25   Counts A through D of the Second Amended Complaint set forth “alter ego” claims arising from

 26   the sale of CTGAM in March 2016. In or about March 2016, CTGAM was sold for

 27
      1
 28    Solely for the purposes of this Motion to Dismiss, all well pleaded, non-conclusory facts alleged in the Complaint
      are assumed to be true. See Screen Capital Int’l Corp. v. Library Asset Acquisition Co., Ltd. (In re ThinkFilm, LLC),
      510 B.R. 266, 272 (C.D. Cal. 2014).
      200729.00057/121585843v.1                                   2
            NOTICE OF MOTION AND MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
Case 9:18-ap-01058-DS             Doc 171 Filed 08/02/19 Entered 08/02/19 13:44:03           Desc
                                  Main Document     Page 10 of 25


  1   approximately $73 million, and the proceeds are alleged to have been paid to the Blue Wolf

  2   Entities (as defined in the Second Amended Complaint), certain lenders and other insiders.

  3   Second Amended Complaint, ¶ 46. Because the March 2016 transfers were the proceeds of the

  4   sale of CTGAM and not any property owned by CTG, these claims are dependent on the

  5   Trustee’s alter ego theory that CTGAM’s assets should be considered property of CTG. The total

  6   amount of the CTGAM sale proceeds transferred to various parties identified in Counts A through

  7   D exceeds $34,000,000. See, e.g., Second Amended Complaint, ¶¶ 65 – 79.

  8           In its First Amended Complaint, the Trustee identified a single payment to Gladstone

  9   from the proceeds of the CTGAM sale that the Trustee alleged was subject to avoidance and

 10   recovery as a subsequent transfer. Specifically, in Exhibit A to the First Amended Complaint, the

 11   Trustee identified a transfer in the amount of $752,245.09, alleged to have been made “[o]n or

 12   about March 2016,” in a list of “Subsequent Transfers Related to Sale of CTG Advanced

 13   Materials (Blue Wolf Fund II, L.P.).” See First Amended Complaint [Docket No. 9] at p. 28.

 14   This transfer is also identified in paragraphs 76, 101, 124 and 148 of the Second Amended

 15   Complaint. Now, in addition to this transfer, the Trustee alleges for the first time in the Second

 16   Amended Complaint that the transfers of the proceeds of the CTGAM sale to various other

 17   entities were made for the benefit of Gladstone merely because Gladstone owned equity in BW

 18   Piezo and/or CTGAM. See Second Amended Complaint, ¶¶ 65, 67, 68, 69, 71, 72, 77, 78, 79. In

 19   so doing, the Trustee now seeks to assert entirely new claims against Gladstone for the avoidance

 20   and recovery of additional transfers in an amount exceeding $34,000,000, without providing any

 21   facts in support of the conclusory statement that Gladstone somehow benefitted from these

 22   transfers. As further explained below, these causes of action against Gladstone are time barred,

 23   unsupported by law or facts, and fail to state plausible claims against Gladstone.

 24   II.     Counts E Through H of the Second Amended Complaint – “Non-Alter Ego” Claims

 25           Counts E through H of the Second Amended Complaint also assert fraudulent transfer

 26   claims under the Bankruptcy Code and under California law, in the alternative and “in the event

 27   the alter ego determination is not made.” See, e.g., Second Amended Complaint, ¶ 157. In

 28   connection with these “non-alter ego” claims, the Trustee seeks the avoidance and recovery of

      200729.00057/121585843v.1                          3
            NOTICE OF MOTION AND MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
Case 9:18-ap-01058-DS             Doc 171 Filed 08/02/19 Entered 08/02/19 13:44:03             Desc
                                  Main Document     Page 11 of 25


  1   transfers in the total amount of $7,576,027.49 that are alleged to have been paid by CTG directly

  2   to Gladstone during the period from February 2012 to June 2016. See, e.g., Second Amended

  3   Complaint, ¶ 166. The specific transfers that the Trustee seeks to recover from Gladstone under

  4   these alternative claims are itemized in Schedule B attached to the Second Amended Complaint.

  5           The transfers to Gladstone specified in Schedule B to the Second Amended Complaint are

  6   new transfers that were never identified in the prior versions of the Trustee’s complaint. In the

  7   First Amended Complaint, the Trustee set forth a list of “CTG Transfers for the Benefit of

  8   Affiliates and Subsidiaries” allegedly made to various entities, and included in that list transfers

  9   allegedly received by Gladstone during the period December 3, 2012 through June 10, 2016 in the

 10   total amount of $2,731,668.15. See First Amended Complaint at p. 29. No other transfers to

 11   Gladstone were identified, and the First Amended Complaint did not seek the avoidance and

 12   recovery of any other transfers, unidentified or otherwise, from Gladstone, or reserve the right to

 13   assert additional claims or recover additional transfers not specified in the First Amended

 14   Complaint.

 15           The allegations in Counts E through H against are based solely on conclusory statements

 16   and are unsupported by any well pleaded facts. For example, the Trustee alleges in conclusory

 17   fashion that “CTG received no reasonably equivalent value for making these transfers,” but offers

 18   no facts in support of this statement. See, e.g., Second Amended Complaint, ¶ 166. The

 19   allegations in support of these claims are also nonsensical and internally inconsistent. The

 20   Trustee contends that the Schedule B transfers were made “to maximize CTG Advanced

 21   Material’s assets and value, and thus BW Piezo’s assets, upon the sale of CTG Advanced

 22   Materials,” see Second Amended Complaint, ¶ 166, yet the vast majority of the transfers to

 23   Gladstone itemized in Schedule B to the Second Amended Complaint are alleged to have been

 24   made before CTGAM was even acquired by BW Piezo in October 2013. See Second Amended

 25   Complaint, ¶ 35 & Schedule B at pp. 110-116.

 26   III.    The Second Amended Complaint Fails to Allege Key Facts Regarding Secured
              Financing Provided by Gladstone
 27
              Although the Second Amended Complaint fails to set forth well pleaded facts sufficient to
 28

      200729.00057/121585843v.1                           4
             NOTICE OF MOTION AND MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
Case 9:18-ap-01058-DS             Doc 171 Filed 08/02/19 Entered 08/02/19 13:44:03             Desc
                                  Main Document     Page 12 of 25


  1   state plausible claims for recovery of the transfers to Gladstone itemized in Schedule B, there are

  2   additional facts, of which the Trustee either is or should be well aware through ordinary diligence,

  3   that confirm the legal and factual insufficiency of these claims. As further explained below,

  4   Gladstone provided secured financing in connection with the acquisition of CTG in 2011, and the

  5   payments received by Gladstone from that date through October 2013 - at which time the secured

  6   obligations were paid in full in connection with the CTGAM acquisition - were made in

  7   satisfaction of such secured debt.

  8           It bears emphasizing that this is not the first instance in which key facts have been omitted

  9   from the complaints filed in this action. In fact, the omission of facts relating to the transactions

 10   at issue in this proceeding is among the pleading deficiencies on which the dismissal of the First

 11   Amended Complaint was based. As the Court recognized in its Memorandum Decision, the

 12   Trustee failed to disclose in that pleading facts regarding the purchase of CTGAM in October

 13   2013 and the financing of that transaction, or that the transfers made to certain parties in March

 14   2016 from the proceeds of the sale of CTGAM were, in part, payments made on loans used to

 15   acquire CTGAM and that were secured by liens on CTGAM’s assets:

 16                   Paragraphs 30 and 31 of the Complaint are devoid of facts
                      regarding the purchase of H.C. Materials in October 2013, the
 17                   specific parties to that transaction, and the role of CIT Bank, N.A.
                      and the Mezzanine Defendants in financing the transaction.
 18                   Nowhere in paragraph 39 or Exhibit A does the Liquidating Trustee
                      disclose that the alleged transfers summarized in Exhibit A
 19                   allegedly associated with the sale of CTGAM involved, at least in
                      part, payments on loans by CIT Bank, N.A. and the Mezzanine
 20                   Defendants secured by liens on the assets of CTGAM.

 21   See Memorandum Decision at 17:17-23. In its Second Amended Complaint, the omission of key

 22   facts continues, including the facts regarding Gladstone’s role as a secured lender to CTG prior to

 23   the acquisition of CTGAM in October 2013. These undisclosed facts confirm what is already

 24   evident from the absence of factual support for the claims set forth in the Second Amended

 25   Complaint: the insufficiency, as a matter of fact and of law, of the Trustee’s claims against

 26   Gladstone, including in particular the claims for avoidance and recovery of transfers made before

 27   CTGAM was acquired in October 2013.

 28

      200729.00057/121585843v.1                           5
            NOTICE OF MOTION AND MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
Case 9:18-ap-01058-DS             Doc 171 Filed 08/02/19 Entered 08/02/19 13:44:03                              Desc
                                  Main Document     Page 13 of 25


  1            In the Second Amended Complaint, the Trustee describes in vague and general terms the

  2   transaction (the “CTG Acquisition”) pursuant to which BW Piezo was formed and funded “for

  3   the sole purpose of acquiring CTG” in December 2011. See Second Amended Complaint, ¶ 24.

  4   The Trustee fails, however, to provide any facts relating to the sources for funding that

  5   transaction, including in particular facts relating to Gladstone, the secured acquisition financing

  6   that Gladstone provided in connection with the CTG Acquisition, and the relationship to the

  7   causes of action the Trustee alleges against Gladstone in the Second Amended Complaint. As set

  8   forth in the Request for Judicial Notice (“RJN”) filed contemporaneously herewith, because the

  9   Second Amended Complaint references the December 2011 CTG Acquisition, and because the

 10   underlying facts of that transaction are essential to the allegations in the Second Amended

 11   Complaint relating to the claims asserted against Gladstone in Counts F through H, Gladstone

 12   requests that the Court take judicial notice of documents relevant to the secured financing that

 13   Gladstone provided in connection with the acquisition of CTG in December 2011 and which was

 14   paid off in October 2013 at the time of the CTGAM acquisition transaction.2

 15            As is set forth in more detail in the RJN, pursuant to a Note Purchase Agreement entered

 16   into with BW Piezo as of December 29, 2011, Gladstone provided secured financing in

 17   connection with the CTG Acquisition. See RJN, Exhibit 1. CTG and its wholly owned

 18   subsidiary, Electro-Optical Industries, LLC (“EOI”) executed and delivered acknowledgments

 19   and joinders to the Note Purchase Agreement, and thereby became parties to the Note Purchase

 20   Agreement, see RJN at Exhibits 2 and 3.3 Pursuant to the terms of the Note Purchase Agreement,

 21
      2
        As the Court recognized in its Memorandum Decision dismissing Plaintiff’s First Amended Complaint, “[i]n
 22   deciding Rule 12(b)(6) motions, courts are not strictly limited to the four corners of the complaints,” see
      Memorandum Decision at 8:15-17 (quoting Outdoor Cent., Inc. v. GreatLodge.com, Inc., 643 F.3d 1115, 1120 (8th
 23   Cir. 2011)), and “[c]ourts may consider ‘matters incorporated by reference or integral to the claim, items subject to
      judicial notice, matters of public record, orders, items appearing in the record of the case, and exhibits attached to the
 24   complaint whose authenticity is unquestioned; these items may be considered by the [court] without converting the
      motion into one for summary judgment.’” Memorandum Decision at 8:19-21 (quoting Wright & Miller); see also
 25   Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007); United States v. Corinthian Colleges, 655
      F.3d 984, 999 (9th Cir. 2011); Branch v. Tunnell, 14 F.3d 449, 454 (9th Cir. 1994) (overruled on other grounds by
 26   Galbraith v. County of Santa Clara, 307 F.3d 1119, 1127 (9th Cir. 2002)). Whether or not the Court decides to take
      judicial notice of the Gladstone secured financing documents submitted with the RJN, Gladstone submits that the
 27   absence of any well pleaded facts in support of the causes of action asserted against Gladstone requires the dismissal
      of such claims pursuant to Rule 12(b)(6).
 28   3
        In connection with the CTG Acquisition, a Gladstone affiliate, GAIN CTG Holdings, Inc., acquired an equity
      interest in BW Piezo. See Note Purchase Agreement, RJN Exhibit 1, p. 4, 8.
      200729.00057/121585843v.1                                     6
            NOTICE OF MOTION AND MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
Case 9:18-ap-01058-DS             Doc 171 Filed 08/02/19 Entered 08/02/19 13:44:03            Desc
                                  Main Document     Page 14 of 25


  1   Gladstone agreed to advance funds to CTG, EOI and BW Piezo (collectively, the “Borrowers”) in

  2   the principal amount of $18,000,000.00 in exchange for, among other things, a security interest in

  3   substantially all of the assets of the Borrowers. The Borrowers made and delivered to Gladstone

  4   (1) an Amended and Restated Term Note A in the original principal amount of $6,000,000.00,

  5   (2) an Amended and Restated Term Note B in the original principal amount of $10,750,000.00

  6   and (3) an Amended and Restated Revolving Promissory Note in the maximum principal amount

  7   of $1,250,000.00, each dated December 29, 2011. See RJN at Exhibits 4, 5 and 6. Pursuant to the

  8   Note Purchase Agreement and the corresponding amended and restated notes, the Borrowers were

  9   obligated to make scheduled payments of principal and interest, as applicable, to Gladstone. See

 10   Note Purchase Agreement, RJN Exhibit 1, at §§ 2.3.1 and 2.3.2; Amended and Restated Term

 11   Note A, RJN Exhibit 4, § 3; Amended and Restated Term Note B, RJN Exhibit 5, § 3.1;

 12   Amended and Restated Revolving Promissory Note, RJN Exhibit 6, § 3.1.

 13           The Borrowers also executed a Security Agreement and related counterparts, granting

 14   Gladstone a continuing security interest in and to substantially all of the Borrowers’ assets. See

 15   RJN at Exhibits 7, 8 and 9. Pursuant to the Note Purchase Agreement and related agreements and

 16   instruments, Gladstone was granted a first priority security interest, subordinate only to applicable

 17   Permitted Encumbrances (as specified in the Note Purchase Agreement). See Note Purchase

 18   Agreement, RJN Exhibit 1, § 2.7. Corresponding UCC-1 financing statements were filed with the

 19   California and Delaware Secretaries of State. See RJN at Exhibits 10, 11, and 12. The payoff of

 20   all indebtedness under the Note Purchase Agreement and related documents occurred in October

 21   2013, at the time of the CTGAM acquisition transactions described in paragraphs 32 through 35

 22   of the Second Amended Complaint.

 23           The underlying facts relating to the CTG Acquisition and the secured financing provided

 24   by Gladstone are not mentioned anywhere in the Second Amended Complaint, notwithstanding

 25   the direct relationship between Gladstone’s secured financing and the Schedule B transfers to

 26   Gladstone itemized in the Second Amended Complaint that pre-date the CTGAM acquisition in

 27   October 2013. These omitted facts confirm what is readily apparent from the incomplete and

 28

      200729.00057/121585843v.1                          7
            NOTICE OF MOTION AND MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
Case 9:18-ap-01058-DS             Doc 171 Filed 08/02/19 Entered 08/02/19 13:44:03            Desc
                                  Main Document     Page 15 of 25


  1   conclusory allegations relating to Gladstone – the Second Amended Complaint fails to establish

  2   plausible causes of action against Gladstone for the recovery of the alleged fraudulent transfers.

  3                                              ARGUMENT

  4   I.      Legal Standard

  5           Under Rule 12(b)(6) of the Federal Rules of Civil Procedure, made applicable to this

  6   adversary proceeding pursuant to Rule 7012(b) of the Federal Rules of Bankruptcy Procedure, the

  7   Court is authorized to grant a motion to dismiss for failure to state a claim upon which relief can

  8   be granted. Pursuant to Fed. R. Civ. P. 8(a)(2), made applicable to this adversary proceeding

  9   pursuant to Fed.R. Bankr. P. 7008(a), a complaint must contain a “short and plain statement of the

 10   claim showing that the pleader is entitled to relief.” This standard “demands more than an

 11   unadorned, the-defendant-unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662,

 12   678 (2009). A complaint that “offers ‘labels and conclusions’ or ‘a formulaic recitation of the

 13   elements of a cause of action will not do.’” Id. (quoting Bell Atl. Corp. v. Twombly, 550 U.S.

 14   544, 555 (2007)). “Nor does a complaint suffice if it tenders ‘naked assertion[s]’ devoid of

 15   ‘further factual enhancement.’” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 557).

 16           Moreover, “[i]n alleging fraud or mistake, a party must state with particularity the

 17   circumstances constituting fraud or mistake.” Fed. R. Civ. P. 9(b); Fed. R. Bankr. P. 7009. The

 18   heightened pleading requirements under Rule 9(b) applies both to allegations of fraud as well as

 19   claims grounded in fraud. See Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1103-04 (9th Cir.

 20   2003). “Averments of fraud must be accompanied by ‘the who, what, when, where and how’ of

 21   the misconduct charged.” Id. at 1106 (quoting Cooper v. Pickett, 137 F.3d 616, 627 (9th Cir.

 22   1997)). “Conclusory allegations are insufficient.” Neilson v. Union Bank of Cal., N.A., 290

 23   F.Supp.2d 1101, 1141 (C.D. Cal. 2003).

 24           Under Federal Rule of Civil Procedure 12(b)(6), a court must dismiss a complaint if the

 25   alleged facts do not entitle the plaintiff to relief. Twombly, 550 U.S. at 560-61. The factual

 26   allegations that appear in the complaint must be detailed enough “to raise a right to relief above

 27   the speculative level” such that, if true, recovery on the allegations would be plausible. Twombly,

 28   550 U.S. at 545. “A claim has facial plausibility when the plaintiff pleads factual content that

      200729.00057/121585843v.1                          8
            NOTICE OF MOTION AND MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
Case 9:18-ap-01058-DS             Doc 171 Filed 08/02/19 Entered 08/02/19 13:44:03             Desc
                                  Main Document     Page 16 of 25


  1   allows the court to draw the reasonable inference that the defendant is liable for the misconduct

  2   alleged.” Iqbal, 556 U.S. at 678 (emphasis added). While the Court may accept as true well-

  3   pleaded factual allegations in a complaint, “the tenet that a court must accept as true all of the

  4   allegations contained in a complaint is inapplicable to legal conclusions.” Iqbal, 556 U.S. at 678.

  5   “While legal conclusions can provide the framework of a complaint, they must be supported by

  6   factual allegations.” Id. at 679. “Threadbare recitals of the elements of a cause of action,

  7   supported by mere conclusory statements, do not suffice.” Id. at 678. “Factual allegations must

  8   be enough to raise a right to relief above the speculative level,” Twombly, 550 U.S. at 555, and

  9   “plausibly sufficient to state a legal claim.” Arnold v. First Citizens Nat’l Bank (In re Cornerstone

 10   Home, Inc.), 567 B.R. 37, 46 (Bankr. W.D.N.Y. 2017) (quoting Doe v. Columbia Univ., 831 F.3d

 11   46, 48 (2d Cir. 2016)).

 12   II.     Counts A through D of the Second Amended Complaint Fail to State Plausible
              Claims for the Avoidance and Recovery of Fraudulent Transfer Claims Against
 13           Gladstone

 14           a.      The Proceeds of the Sale of CTGAM Do Not Involve Property of CTG

 15           In Counts A through D of the Second Amended Complaint, the Trustee asserts causes of

 16   action for the avoidance and recovery of actual and constructive fraudulent transfers under the

 17   Bankruptcy Code and California law based on the March 2016 sale of CTG’s sister company,

 18   CTGAM, and the distribution of the proceeds of that sale to various parties. It is axiomatic that to

 19   state a claim under each of these causes of action, a plaintiff must allege, at a minimum, that a

 20   transfer involves an interest of the debtor in property. See 11 U.S.C. § 544(b)(1) (“[T]he trustee

 21   may avoid any transfer of an interest of the debtor in property . . .”); 11 U.S.C. § 548(a)(1)(A)-(B)

 22   (same); see also Gaughan v. Edward Dittlof Revocable Trust (In re Costas), 555 F.3d 790, 792-

 23   93 (9th Cir. 2009); Greenspan v. Orrick, Herrington & Sutcliffe LLP (In re Brobeck, Phelger &

 24   Harrison LLP), 408 B.R. 318, 337 (Bankr. N.D. Cal. 2009). The Trustee’s claims in Counts A

 25   through D necessarily fail because the distribution of the proceeds of the sale of CTGAM did not

 26   involve a transfer of CTG’s property.

 27           The Trustee bases its claims under Counts A through D on a flawed “alter ego” theory that

 28   CTGAM and the proceeds of that sale should be somehow be considered as CTG’s property. An

      200729.00057/121585843v.1                           9
            NOTICE OF MOTION AND MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
Case 9:18-ap-01058-DS             Doc 171 Filed 08/02/19 Entered 08/02/19 13:44:03                Desc
                                  Main Document     Page 17 of 25


  1   alter ego remedy is not available under the facts presented, because under California law an entity

  2   such as the Trustee here, as a representative of the CTG estate, cannot invoke the doctrine in an

  3   attempt to recover the assets of the debtor’s equity holders and affiliates. See Communist Party v.

  4   522 Valencia, Inc., 35 Cal.App.4th 980, 995 (1995) (“Alter ego is utilized to prevent two parties

  5   with the same interest from inequitably using the corporate form to thwart a third party's rights; it

  6   is not designed to unite two separate entities with opposing interests for the benefit of the one

  7   claiming to control the other.”). Other courts, including the Ninth Circuit, have denied attempts

  8   by an entity to pierce its own corporate veil. See, e.g., Disenos Artisticos E Industriales, S.A., v.

  9   Costco Wholesale Corp., 97 F.3d 377, 380 (9th Cir. 1996) (“Generally, the corporate veil can be

 10   pierced only by an adversary of the corporation, not by the corporation itself for its own

 11   benefit.”); United Continental Tuna Corp. v. U.S., 550 F.2d 569, 573 (9th Cir. 1977) (“First,

 12   appellant is seeking to pierce its own veil for its own benefit. Appellant has cited no authority

 13   and we have found none which allows such a procedure.”); U.S. Fid. & Guar. Co. v. Lee

 14   Investments, LLC, No. CV-F-99-5583, 2008 WL 5157712, at *6 (E.D. Cal. Dec. 8, 2008) (alter

 15   ego cannot be used as an affirmative claim “to establish a relationship of identity between the

 16   defendant corporation and the plaintiff itself, in order to allow the plaintiff to obtain for itself the

 17   assets of the corporation.”) (quoting 522 Valencia, Inc., 35 Cal.App.4th at 995).

 18           More fundamentally, even if the alter ego remedy were available under the circumstances

 19   of this case, it would not afford the relief the Trustee is seeking here – the combination of the

 20   assets of CTG and CTGAM or the treatment of the two entities as a single consolidated entity. At

 21   best, the alter ego remedy would allow the Trustee to assert claims against the assets of CTGAM

 22   or any other party subject to alter ego liability, but it would not result in CTG and CTGAM

 23   becoming a single corporation, or allow CTG to acquire ownership of CTGAM’s assets. See

 24   Mesler v. Bragg Mgmt. Co., 39 Cal.3d 290, 301 (1985) (recognizing that alter ego remedy affords

 25   opportunity to obtain judgment against corporation and its alter ego as separate entities).

 26           Accordingly, even if the Trustee were entitled to an alter ego remedy, this would not cause

 27   CTGAM, its assets or the proceeds of the March 2016 sale of CTGAM to become the property of

 28   CTG. The transfers at issue in Counts A through D of the Second Amended Complaint thus do

      200729.00057/121585843v.1                            10
            NOTICE OF MOTION AND MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
Case 9:18-ap-01058-DS             Doc 171 Filed 08/02/19 Entered 08/02/19 13:44:03             Desc
                                  Main Document     Page 18 of 25


  1   not involve a transfer of any interest of CTG in property subject to recovery as a fraudulent

  2   transfer. “A Rule 12(b)(6) dismissal may be based on either a ‘lack of a cognizable legal theory,’

  3   or ‘the absence of sufficient facts alleged under a cognizable legal theory.’” Johnson v. Riverside

  4   Healthcare Sys., L.P., 534 F.3d 1116, 1121 (9th Cir. 2008). As the Court recognized in the

  5   Memorandum Decision, “[a] claim cannot be plausible when it has no legal basis.” Memorandum

  6   Decision at 7:5-6. The fraudulent transfer claims alleged in Counts A through D are deficient as a

  7   matter of fact and law because they fail to state a cognizable claim arising from the transfer of

  8   CTG’s property, and such claims should therefore be dismissed with prejudice.

  9           b.      The New Claims Asserted Against Gladstone in Counts A Through D of the
                      Second Amended Complaint Are Time Barred and Unsupported by Fact or Law
 10
              In its First Amended Complaint, the Trustee identified a single payment to Gladstone
 11
      from the proceeds of the CTGAM sale that the Trustee alleged was subject to avoidance and
 12
      recovery as a fraudulent transfer. This transfer, in the amount of $752,245.09, was listed in
 13
      Exhibit A to the First Amended Complaint and designated as a subsequent transfer related to the
 14
      sale of CTGAM. See First Amended Complaint [Docket No. 9] at p. 28. The Trustee gave no
 15
      indication whatsoever in its First Amended Complaint that it intended to seek recovery from
 16
      Gladstone with respect to any transfers other than those specifically identified in that pleading.
 17
      Instead, the Trustee limited the requested relief to transfers “specified” in Exhibit A to the First
 18
      Amended Complaint. See First Amended Complaint [Docket No. 9], ¶¶ 53, 57, 60, 67, 70, 73,
 19
      77, 79, 86. The Trustee did not reserve the right to seek the avoidance and recovery of any
 20
      additional unknown or unidentified transfers, beyond those itemized in the First Amended
 21
      Complaint.
 22
              The Trustee now seeks in Counts A through D of the Second Amended Complaint to
 23
      recover from Gladstone additional transfers, made to other parties, in an amount exceeding
 24
      $34,000,000. The only justification offered in support of these new claims is that the additional
 25
      transfers were made “for the benefit of” Gladstone because it owned equity in BW Piezo and/or
 26
      CTGAM. See Second Amended Complaint, ¶¶ 65, 67, 68, 69, 71, 72, 77, 78, 79. These new
 27
      claims against Gladstone should be dismissed with prejudice.
 28

      200729.00057/121585843v.1                          11
            NOTICE OF MOTION AND MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
Case 9:18-ap-01058-DS             Doc 171 Filed 08/02/19 Entered 08/02/19 13:44:03             Desc
                                  Main Document     Page 19 of 25


  1           As an initial matter, the new claims asserted against Gladstone in Counts A through D are

  2   time barred. Pursuant to section 546(a)(1)(a) of the Bankruptcy Code, the Trustee was required to

  3   assert these claims no later than two years after the date CTG filed its petition for relief under

  4   chapter 11 on October 14, 2016. The statutory deadline has passed, and because the claims seek

  5   to avoid and recover new transfers based on new facts as to Gladstone, they do not relate back.

  6   See Burtch v. Opus, LLC (In re Opus E., LLC), Adv. No. 11-52423 (MFW), 2013 WL 4478914,

  7   at *4 (Bankr. D. Del. Aug. 6, 2013); Buchwald Capital Advisors, LLC v. JP Morgan Chase Bank,

  8   N.A. (In re M. Fabrikant & Sons, Inc.), 447 B.R. 170, 182 (Bankr. S.D.N.Y. 2011), aff’d, 480

  9   B.R. 480 (S.D.N.Y. 2012); In re Metzeler, 66 B.R. 977, 984 (Bankr. S.D.N.Y. 1986).

 10           The new claims in Counts A through D against Gladstone should also be dismissed

 11   because the Trustee has failed to allege facts to state a plausible cause of action for recovery from

 12   Gladstone as “an entity for whose benefit” the subject transfers were made. As an initial matter,

 13   an indirect benefit is not sufficient to establish liability under section 550(a)(1) of the Bankruptcy

 14   Code; rather, the benefit received must be “direct, ascertainable and quantifiable” and bear a

 15   “necessary correspondence to the value of the property transferred.” In re Inter. Mgmt Assoc.,

 16   399 F.3d 1288, 1293 (11th Cir. 2005). The Trustee alleges no facts that even remotely satisfy this

 17   standard of beneficiary liability.

 18           Moreover, beneficiary liability under section 550(a)(1) requires that “the debtor must have

 19   been motivated by an intent to benefit the individual or entity from whom the trustee seeks to

 20   recover.” Danning v. Miller (In re Bullion Reserve of North America), 922 F.2d 544, 547 (9th Cir.

 21   1991) (“It is not enough that an entity benefit from the transfer; the transfer must have been made

 22   for his benefit.”). The Second Amended Complaint contains no such allegations. Furthermore,

 23   “[t]he paradigm example of a transfer beneficiary is a guarantor. When the guaranteed debt is

 24   paid, the guarantor has not received the money, but it did receive a benefit – release from its

 25   guarantee.” Official Comm. of Unsecured Creditors v. Fountainhead Grp., Inc. (In re Bridgeview

 26   Aerosol, LLC), 538 B.R. 477, 512 (Bankr. N.D. Ill. 2015); see also 5 Collier on Bankruptcy ¶

 27   550.02[4] (“Two frequently cited examples of an entity for whose benefit the transfer was made

 28   are (1) a third-party guarantor of the debtor whose liability is reduced by the debtor’s payment of

      200729.00057/121585843v.1                          12
            NOTICE OF MOTION AND MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
Case 9:18-ap-01058-DS             Doc 171 Filed 08/02/19 Entered 08/02/19 13:44:03                            Desc
                                  Main Document     Page 20 of 25


  1   the guaranteed debt and (2) a third party whose debt is paid by the debtor (with payment going to

  2   the third party’s creditor as the initial transferee).” There is nothing in the Second Amended

  3   Complaint to suggest that the transfers alleged to have been made in March 2016 were in

  4   satisfaction of any obligations guaranteed by Gladstone (nor could there be).

  5            The Trustee has failed to allege facts to support its claims against Gladstone as a

  6   beneficiary of the transfers set forth in Counts A through D. There is no allegation that any

  7   obligation of Gladstone was satisfied or that its liability was reduced by the transfers identified

  8   and at issue in the Second Amended Complaint. The mere allegation that Gladstone held equity

  9   in BW Piezo and/or CTGAM is insufficient to establish that it was an intended beneficiary under

 10   section 550(a)(1), and no other facts are alleged to support such a claim.4 The beneficiary claims

 11   against Gladstone are simply not plausible and must be dismissed.

 12   III.     Counts E through H of the Second Amended Complaint Fail to State Plausible
               Claims for the Avoidance and Recovery of Fraudulent Transfer Claims Against
 13            Gladstone

 14            In Counts E through H, the Trustee seeks to avoid and recover specific transfers itemized

 15   in Schedule B to the Second Amended Complaint, and includes new transfers to Gladstone that

 16   were never identified in the prior versions of the Trustee’s complaint. These claims against

 17   Gladstone should also be dismissed because they are barred under the applicable statutes of

 18   limitation and because they are unsupported by facts sufficient to state plausible causes of action.

 19            In Exhibit B to the First Amended Complaint, which summarized “CTG Transfers for the

 20   Benefit of Affiliates and Subsidiaries,” the Trustee listed transfers allegedly made to Gladstone

 21   during the period December 3, 2012 through June 10, 2016 in the total amount of $2,731,668.15.

 22   The Trustee sought only the recovery of transfers “specified” in Exhibit B to the First Amended

 23   Complaint, and the First Amended Complaint did not seek the avoidance and recovery of any

 24   other transfers from Gladstone. In Schedule B to the Second Amended Complaint, however, the

 25

 26

 27   4
        The Trustee does not – and as a matter of fact cannot - allege that Gladstone held a controlling interest in BW Piezo.
 28   The Trustee’s acknowledgment of this point is evidenced by revisions to the complaint that removed Gladstone from
      the definition of “Blue Wolf Entities” in the Second Amended Complaint. Compare First Amended Complaint at
      2:3-5 with Second Amended Complaint at 2:3-8.
      200729.00057/121585843v.1                                   13
             NOTICE OF MOTION AND MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
Case 9:18-ap-01058-DS             Doc 171 Filed 08/02/19 Entered 08/02/19 13:44:03            Desc
                                  Main Document     Page 21 of 25


  1   Trustee now identifies transfers in the total amount of $7,576,027.49 that are alleged to have been

  2   made directly to Gladstone during the period from February 2012 to June 2016.

  3           These new claims are barred under section 546(a)(1)(A) of the Bankruptcy Code because

  4   they were asserted for the first time more than two years after the date of CTG’s bankruptcy filing

  5   on October 14, 2016. These claims seek the recovery of new transfers and are based on new facts

  6   and transactions that are unrelated to core allegations in the First Amended Complaint regarding

  7   the sale of CTGAM, and therefore do not relate back. See Opus, LLC, 2013 WL 4478914, at *4;

  8   In re M. Fabrikant & Sons, Inc., 447 B.R. at 182, aff’d, 480 B.R. 480 (S.D.N.Y. 2012); In re

  9   Metzeler, 66 B.R. at 984. Moreover, except for the three transfers dated in 2015 and 2016, all of

 10   the transfers to Gladstone identified in Schedule B to the Second Amended Complaint are alleged

 11   to have been made more than two years prior to CTG’s October 14, 2016 petition date.

 12   Accordingly, the Trustee’s claims under sections 548(a)(1)(A) and (a)(1)(B) of the Bankruptcy

 13   Code for the avoidance and recovery of all transfers alleged to have been made before October

 14   14, 2014 are also time barred.

 15           The claims in Counts E through H against Gladstone also fail because they are based

 16   solely on conclusory statements and are unsupported by any well pleaded facts. Furthermore, and

 17   as explained above, the Second Amended Complaint also omits key facts regarding Gladstone’s

 18   role as a secured lender that confirm the futility of the Trustee’s claims against Gladstone.

 19   Regardless of the reasons for the failure to disclose, the facts regarding the secured acquisition

 20   financing that Gladstone provided pursuant to the December 2011 Note Purchase Agreement and

 21   related documents confirm that the fraudulent transfer claims alleged in Counts E through H

 22   against Gladstone are patently implausible (and indeed groundless). “[R]epayments of fully

 23   secured obligations—where a transfer results in a dollar for dollar reduction in the debtor’s

 24   liability—do not hinder, delay, or defraud creditors because the transfers do no put assets

 25   otherwise available in a bankruptcy distribution out of their reach.” In re First Alliance Mortg.

 26   Co., 471 F.3d 977, 1008 (9th Cir. 2006); see also Melamed v. Lake Cnty. Nat. Bank, 727 F.2d

 27   1399, 1402 (6th Cir. 1984) (finding payment subject to bank’s security interest was not fraudulent

 28   transfer); In re Nat. Century Financial Enterprises, Inc., 783 F.Supp.2d 1003, 1029-30 (S.D.

      200729.00057/121585843v.1                          14
            NOTICE OF MOTION AND MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
Case 9:18-ap-01058-DS             Doc 171 Filed 08/02/19 Entered 08/02/19 13:44:03          Desc
                                  Main Document     Page 22 of 25


  1   Ohio 2011) (finding payment on secured debt not fraudulent transfer); In re Walters, 163 B.R.

  2   575, 581 (Bankr. C.D. Cal. 1994) (no constructive fraudulent transfer claim where antecedent

  3   obligation paid); 11 U.S.C. § 548(d)(2)(A) (satisfaction of antecedent debt of the debtor

  4   constitutes value).

  5                                               JOINDER

  6           Gladstone hereby joins in the motions to dismiss filed by other defendants to the extent

  7   that such motions are not inconsistent with the relief sought herein.

  8                                             CONCLUSION

  9           WHEREFORE, Gladstone Investment Corporation hereby requests that the Second

 10   Amended Complaint be dismissed with prejudice, and that it be granted such other or further

 11   relief as is just and appropriate.

 12

 13   DATED: August 2, 2019                     BLANK ROME LLP

 14

 15
                                                By: /s/ Craig N. Haring
 16                                                     Cheryl S. Chang
                                                        Jeffrey Rhodes
 17                                                     Craig N. Haring
 18                                             Attorneys for
                                                GLADSTONE INVESTMENT CORPORATION
 19

 20

 21

 22

 23

 24

 25

 26

 27

 28

      200729.00057/121585843v.1                         15
            NOTICE OF MOTION AND MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
        Case 9:18-ap-01058-DS                     Doc 171 Filed 08/02/19 Entered 08/02/19 13:44:03                                      Desc
                                                  Main Document     Page 23 of 25



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is: 1925 Century Park
East, 19th Floor, Los Angeles, CA 90067.


A true and correct copy of the foregoing document entitled (specify): NOTICE OF MOTION AND MOTION
TO DISMISS THE SECOND AMENDED COMPLAINT will be served or was served (a) on the judge in chambers in
the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date) August 2,
2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons are
on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:



                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) August 2, 2019, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage
prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later
than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) August 2, 2019, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service method), by
facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
mail to, the judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 8/2/19              Michelle Grams                                                             /s/ Michelle Grams
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
200729.00057/121593254v.1
        Case 9:18-ap-01058-DS                     Doc 171 Filed 08/02/19 Entered 08/02/19 13:44:03                                      Desc
                                                  Main Document     Page 24 of 25



                                              PROOF OF SERVICE OF DOCUMENT

                                                           ATTACHMENT PAGE

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)


       Keith Patrick Banner kbanner@greenbergglusker.com,
        sharper@greenbergglusker.com;calendar@greenbergglusker.com
       Peter J Benvenutti pbenvenutti@kellerbenvenutti.com, pjbenven74@yahoo.com
       Jonathan Boustani jboustani@btlaw.com
       Cheryl S Chang Chang@Blankrome.com, Hno@BlankRome.com
       Brian L Davidoff bdavidoff@greenbergglusker.com,
        calendar@greenbergglusker.com;jking@greenbergglusker.com
       Edward J Dennis , eburch@lynnllp.com
       Tobias S Keller tkeller@kellerbenvenutti.com
       Ian Landsberg ilandsberg@sklarkirsh.com,
        lskaist@sklarkirsh.com;yalarcon@sklarkirsh.com;mmadden@sklarkirsh.com;ilandsberg@ecf.inforuptc
        y.com
       Andrew B Levin alevin@wcghlaw.com,
        Meir@virtualparalegalservices.com;pj@wcghlaw.com;jmartinez@wcghlaw.com
       Christian A Orozco corozco@lynnllp.com, thooker@lynnllp.com;ejohnson@lynnllp.com
       Christopher O Rivas crivas@reedsmith.com, chris-rivas-8658@ecf.pacerpro.com
       Howard Steinberg steinbergh@gtlaw.com, pearsallt@gtlaw.com;laik@gtlaw.com
       David A Taylor david@taylorstrategic.com
       United States Trustee (ND) ustpregion16.nd.ecf@usdoj.gov

2. SERVED BY UNITED STATES MAIL:

DHAN, LLC
3236 Justamere Road
Woodridge, IL 60517

Adrian Garcia
2100 Ross Avenue, Ste 2700
Dallas, TX 75201

Sam Butler Hardy IV
2100 Ross Avenue, Ste. 2700
Dallas, TX 75201




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
200729.00057/121593254v.1
        Case 9:18-ap-01058-DS                     Doc 171 Filed 08/02/19 Entered 08/02/19 13:44:03                                      Desc
                                                  Main Document     Page 25 of 25



3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
EMAIL:

Honorable Deborah J. Saltzman - VIA PERSONAL DELIVERY
United States Bankruptcy Court
Central District of California
255 E. Temple Street, Suite 1634
Los Angeles, CA 90012




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
200729.00057/121593254v.1
